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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA,                  :   Case No. 3:21-MJ-
                                            :
          Plaintiff,                        :   Magistrate Judge Sharon L. Ovington
                                            :
 vs.                                        :
 DALIN S. ALLEN,                            :
                                            :
          Defendant.                        :
                                            :


                                 BINDOVER ORDER

         This matter was set for preliminary examination on November 3, 2021. Upon the

evidence adduced, the Court finds there is probable cause to believe Defendant

committed the offense alleged in the Complaint and orders that he be bound over to the

grand jury to answer that charge.

November 4, 2021                                    s/Sharon L. Ovington
                                                     Sharon L. Ovington
                                                United States Magistrate Judge
